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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
------------------------------------------------------------------
                                                                 :
JULIE ANNE CHINNOCK                                              :
                                                                 :   Case No. 1:18-cv-2935
                      Plaintiff,                                 :
                                                                 :
vs.                                                              :   OPINION & ORDER
                                                                 :   [Resolving Docs. 8, 13, 14, 15]
NAVIENT CORPORATION, et al.,                                     :
                                                                 :
                      Defendants.                                :
                                                                 :
------------------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          Plaintiff Julie Anne Chinnock racked up hundreds of thousands of dollars in student

loan debt attending some nine colleges. She claims that she has paid off those loans;

Defendants disagree.

          This case is nearly identical to a prior case this Court dismissed for lack of personal

jurisdiction, after Plaintiff failed to show the dispute had anything to do with Ohio.1 This

time, Plaintiff claimed in her verified complaint that this Court had personal jurisdiction

because the case arose from Ohio events.2 Plaintiff Chinnock’s verified complaint says that

Defendants disbursed the loans to Ohio schools, that she made monthly loan payments

from Ohio, and that she had extensive Ohio communications with Defendants.3

                Chinnock sues the loan servicers (the “Navient Defendants”)4 and several

government actors (the “Government Defendants”).5 After removing the case here, the



          1
              Chinnock v. Navient Corp., 1:18-cv-1009, 2018 WL 5312462 (N.D. Ohio Oct. 26, 2018).
          2
              Doc. 1-1 at ¶ 13.
          3
              Id.
          4
          Including, Defendants Navient Corporation, Navient Solutions, LLC, and Navient Student Loan Trust 2014-3.
          5
          Including, The United States Department of Education, Assistant United States Attorney Alex Rokakis, and
former Acting Attorney General Matthew Whittaker.
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Government Defendants move to dismiss, claiming sovereign immunity.6 Meanwhile, the

Navient Defendants argue the Court does not have personal jurisdiction.7

       The Court conducted an April 12, 2019, personal jurisdiction hearing.8 Meanwhile,

Plaintiff moves to strike parts of those motions.9 The Navient Defendants move for

sanctions.10

       For the following reasons, the Court DENIES Plaintiff’s motion to strike, GRANTS

both motions to dismiss, and GRANTS the Navient Defendants’ sanctions motion.

                         I.       The Court Denies Plaintiff’s Motion to Strike

       Chinnock moves to strike parts of the Government Defendants’ removal notice and

the Navient Defendants’ Rule 12(f) motion to dismiss.11 However, Rule 12(f) only applies

to pleadings.12 Because neither filing is a pleading, the Court denies her motion.13

           II.     The Court Lacks Personal Jurisdiction over the Navient Defendants

       Chinnock must show, by a preponderance of the evidence, that the Court’s exercise

of personal jurisdiction over the Navient Defendants is authorized by both the Due Process

Clause and Ohio’s long-arm statute.14

       To satisfy due process, Plaintiff must show that: (i) the Navient Defendants

purposefully availed themselves of the privilege of acting in Ohio, (ii) this case arose from

the Navient Defendants’ Ohio activities, and (iii) the Navient Defendants’ connection to




       6
         Doc. 15.
       7
         Doc. 8. Plaintiff opposes. Doc. 17.
       8
         Doc. 31.
       9
         Doc. 13.
       10
          Doc. 8.
       11
          Doc. 13.
       12
          Fed. R. Civ. P. 12(f); Reid v. Baker, 499 F. App’x 520, 524 (6th Cir. 2012).
       13
          See Fed. R. Civ. P. 7(a).
       14
          AlixPartners, LLP v. Brewington, 836 F.3d 543, 549 (6th Cir. 2016).
                                                          -2-
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Ohio is sufficiently substantial to make the exercise of jurisdiction reasonable. 15 Because

Chinnock cannot satisfy due process, the Court does not reach Ohio’s long-arm statute.

         Chinnock failed to show this case arose from the Navient Defendants’ Ohio

activities or that this case involves Ohio at all. While her verified complaint is rife with

alleged Ohio contacts, at the hearing, Chinnock denied any connection to Ohio.

         Chinnock attended school, applied for her loans,16 paid her loans,17 applied for

income-based repayment,18 and disputed her loans from outside Ohio.19 It seems her

lenders are based outside Ohio.20 She used a non-Ohio bank to pay the loans. In her loan

documents, Chinnock consistently identified non-Ohio addresses.21 The Navient

Defendants have no Ohio offices and do not appear to have collected Chinnock’s loans in

Ohio.22 Thus, the Court dismisses Plaintiff’s claims against the Navient Defendants. 23

                                          III.      Sanctions Against Plaintiff

         In the Navient Defendants’ motion to dismiss, they ask the Court to sanction

Plaintiff for, inter alia, vexatious personal jurisdiction allegations.24 Given the inexplicable

disparities between Chinnock’s verified complaint (made under oath) and her hearing

testimony, the Court believes sanctions are warranted.25


         15
              Air Prod. & Controls, Inc. v. Safetech Intern., Inc., 503 F.3d 544, 550 (6th Cir. 2007).
         16
              Doc. 25-1 at 8, 21, 31.
         17
              Chinnock’s automatic debt authorization forms reflect non-Ohio addresses. Id. at 50, 53. Chinnock also
testified at the hearing that she made her monthly payments from an Oregon bank and a lump sum payment from
Arizona.
           18
              Id. at 58–59, 65, 66, 67, 68.
           19
              Id. at 55.
           20
              Id. at 8 (reflecting a Washington lender); id. at 21 (reflecting a Utah lender).
           21
              Including permanent addresses.
           22
              Id. ¶ 6.
           23
              Plaintiff’s contention that the Ohio savings statute would provide personal jurisdiction in an Ohio court is
both irrelevant and wrong. The savings statute is not an affirmative grant of jurisdiction, it merely tolls limitations periods.
See Ohio Rev. Code § 2305.19; Motorists Mut. Ins. Co. v. Huron Rd. Hosp., 653 N.E.2d 235, 239 (1995).
           24
              Doc. 8 at 3.
           25
              Not only did Plaintiff make her verified complaint under oath, her counsel submitted it to the Court as
evidence.
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                    Verified Complaint                                            Hearing Evidence

 Plaintiff attested that Defendants disbursed                   Plaintiff testified she never attended an
 her loans to Ohio schools.26                                   Ohio school.
 Plaintiff attested that she made monthly                       Plaintiff testified that she largely made
 loan payments in Ohio.27                                       monthly loan payments outside Ohio and
                                                                could not recall an Ohio payment.
 Plaintiff attested that Defendants issued a                    Plaintiff testified that she made her lump
 receipt of a lump sum payment in Ohio.28                       sum payment in Arizona.
 Plaintiff suggested she applied for loans in                   Every loan application indicated she
 Ohio.29                                                        applied outside Ohio.
 Plaintiff attested she had dozens of                           Plaintiff did not identify a single
 communications with Defendants in Ohio.                        communication with Defendants in Ohio.
         This bait and switch caused the Court to hold—and Navient Defendants to attend—a

needless hearing about phantom factual disputes.

         As a sanction, Plaintiff must pay the Navient Defendants’ expenses associated with

the hearing.30 The Navient Defendants should promptly submit relevant evidence.

              IV.      Plaintiff Failed to State a Claim Against Defendants Rokakis and Whitaker

         Chinnock has not alleged that either Assistant United States Attorney Alex Rokakis

or former Acting Attorney General Matthew Whitaker have anything to do with this case.

Thus, the Court is inclined to dismiss Chinnock’s claims against Defendants Rokakis and

Whitaker for failure to state a claim.31 Before dismissing sua sponte, the Court is required

to offer Plaintiff a reasonable time to describe some Rokakis or Whitaker connection with

her case.32 Plaintiff Chinnock may, within ten days of this order, respond with facts


         26
              Doc. 1-1 ¶ 13.
         27
            Id.
         28
            Id.
         29
            See id. (stating that Defendants solicited Plaintiff in Ohio regarding loan transactions and communicated with
her in Ohio regarding loan applications).
         30
             Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (“Federal courts possess certain
inherent powers . . . . That authority includes the ability to fashion an appropriate sanction for conduct that abuses the
judicial process. And one permissible sanction is an assessment of attorney’s fees.”).
          31
             See Fed. R. Civ. P. 12(b)(6).
          32
             Chase Bank USA, N.A. v. City of Cleveland, 695 F.3d 548, 558 (6th Cir. 2012) (“Before dismissing a
complaint sua sponte, even if dismissal without prejudice the court must give notice to the plaintiff.”).
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demonstrating some claim against Defendants Rokakis and Whitaker. Otherwise, the Court

will dismiss those claims.



                            V.        The Department of Education Is Immune

         As a United States agency, the Department of Education is immune from suit unless

Congress explicitly waives that immunity.33 Such waiver must be “unequivocal.”34

Chinnock bears the burden of demonstrating waiver.35 However, Chinnock does not

bother to identify the required waiver, nor could she.

         Chinnock sues the Department of Education for fraud and deceit.36 Although the

Federal Tort Claims Act generally authorizes tort claims against the United States, it

requires the plaintiff to first seek administrative relief.37 Chinnock failed to do so.

         Plaintiff Chinnock also seeks to enjoin the Department from pursuing the disputed

debt.38 While the Higher Education Act provides a narrow immunity waiver, it states that

“no attachment, injunction, garnishment, or other similar process . . . shall be issued.”39

         Finally, Chinnock asks the Court to declare that she is not indebted to the

Department.40 The question is whether the requested declaratory judgment is an

“attachment, injunction, garnishment, or other similar process.”41 The Sixth Circuit has not

yet answered this question and the other circuits are split.42 The Court believes § 1082(a)



         33
            Jackson v. United States, 751 F.3d 712, 716 (6th Cir. 2014).
         34
            Lane v. Pena, 518 U.S. 187, 192 (1996).
         35
            See Moir v. Greater Cleveland Reg’l Transit Auth., 895 F.2d 266, 269 (6th Cir. 1990).
         36
            Doc. 1-2.
         37
            28 U.S.C. § 2674; 28 U.S.C. § 2675(a).
         38
            Doc. 1-1 at 19.
         39
            20 U.S.C. § 1082(a)(2) (emphasis added).
         40
            Doc. 1-1 at 19.
         41
            20 U.S.C. § 1082(a)(2).
         42
            Compare Am. Ass’n of Cosmetology Sch. v. Riley, 170 F.3d 1250, 1253–55 (9th Cir. 1999) (prohibiting
declaratory judgment) with Thomas v. Bennett, 856 F.2d 1165, 1168 (8th Cir. 1988) (permitting declaratory judgment).
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precludes the requested declaration.

       The purpose of the sought declaration is to prevent the Department from continuing

its debt collection efforts. An injunction against the Department of Education would have

the same purpose and effect as Chinnock’s sought injunction. Chinnock cannot end-run §

1082(a)’s prohibition on injunctions through a declaration. Further, because sovereign

immunity waivers must be “unequivocal,” § 1082(a)’s ambiguity ought to be construed in

favor of immunity. Finally, Chinnock bears the burden and has utterly failed to dispute

sovereign immunity.

       The Court dismisses Chinnock’s claims against the Department of Education.

                                       VI.   Conclusion

       Thus, the Court GRANTS the Defendants’ motions to dismiss, GRANTS the Navient

Defendants’ sanctions motion, and DENIES Plaintiff’s motion to strike.

       IT IS SO ORDERED.


Dated: April 22, 2019                              s/     James S. Gwin
                                                   JAMES S. GWIN
                                                   UNITED STATES DISTRICT JUDGE




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